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                                                                             nPFN COU"L


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                      UNITED STATES DISTRICT COURU '
                                      for the           1                    us uibiHioi
                           EASTERN DISTRICT OF VIRGINIA \                                     —
                                       Alexandria Division

     WENGUIGUG
     a/k/a Miles Kwok,
                                                             CaseNo. 1:18-CV-00174-LO-TCB
                                    Plaintiff,

                      - against -

      YELIANG XIA,

                                    Defendant.


                                             VERDICT



           We,the jury, find as follows:

        1. As to plaintiff Wengui Guo's claim for defamation, we find in favor of
                 (jiUO and against
               a. Complete the section below only if you find in favor of plaintiff Wengui
                   Guo on his claim for defamation.

                         i. We award Wengui Guo the following actual damages:
                           j 50,ooo

                      ii. We award Wengui Guo the following punitive damages:
                           s Z0,0'iO

         2. As to plaintiff Wengui Guo's claim for defamation per se, we find in favor of
           tWnyi GioO and against
                a. Complete the section below only if you find in favor of plaintiff Wengui
                   Guo on his claim for defamation per se.
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                      i. We      award   Wengui Quo the following actual damages:

                           $30jOOO

                     ii.   We award      Wengui Guo .the following presumed damages

                           $ 0

                    iii.   We    award   Wengui Guo the following punitive damages:

                           $ 20,qoC>

       3. As to defendant Yeliang Xia's claim for defamation, we find in favor of

                           and against

              a. Complete the section below only if you find in favor of plaintiff defendant

                 Yeliang Xia on his claim for defamation.

                      i. We award Yeliang Xia the following actual damages:

                           $ 5,OOP

                     ii. We award Yeliang Xia the following punitive damages;

                           $

       4. As to defendant Yeliang Xia's claim for defamation per se, we find in favor of

         lAK-tigo'i fejtfO and against          Xtov-_
              a. Complete the section below only if you find in favor of defendant Yeliang

                 Xia on his claim for defamation per se.

                     i. We award Yeliang Xia the following actual damages:

                           $    o          .
                     ii. We award Yeliang Xia the following presumed damages

                           $    ®
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                     iii. We award Yeliang Xia the following punitive damages;

                         $   0            .
    So say we all.

    Signed and dated at the United States Courthouse. Alexandria, Virginia, this ^ day of
    July, 2019,




 O
    Foren^son's Sienature                              Foreperson's Printed Name
